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                                          U.S. Department of Justice
[Type text]
                                                      United States Attorney
                                                      Southern District of New York

                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007


                                                     July 28, 2023

The Honorable Denise L. Cote
United States District Court Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

       Re:     United States v. James Velissaris, 22 Cr. 105

Dear Judge Cote:

        The Government writes to respectfully request a brief extension of its filing deadline in the
above-captioned case. The Court ordered the Government to reply to the defendant’s submission
regarding the victims’ claim for legal expenses by July 28, 2023. Due to scheduling issues, the
Government respectfully requests an extension of the filing deadline until Wednesday, August 2.
This is the Government’s first request for an extension. Defense counsel does not object to the
request.

                                              Respectfully submitted,

                                              DAMIAN WILLIAMS
                                              United States Attorney


                                      By:     ___/s/____________________________
                                              Margaret Graham
                                              Assistant United States Attorney
                                              (212) 637-2923

cc:    Defense Counsel for James Velissaris
